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THELM.A LANE, J'UDGMENT IN A CIV`IL CASE
Plaintiff,

v.

ROBERT H.ALF INTERNATIONAL, CASE NO: 04-2756 Ml/P

INC., d/b/El OFFICE TEAM,

Defendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, A.DJ'UDGED, AND DECREED that, in
accordance with the Order Granting Defendant’s Motion for Summary
Judgment entered April ’?VJ, 2005, this case is DISMISSED.

APPROVED :

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/Jo P. MccALLA
ITED sTATES DISTRICT JUDGE

 

 

 

 

 

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Honorable J on McCalla
US DISTRICT COURT

